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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0135V
                                      Filed: April 24, 2017
                                          Unpublished

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SHEILA ADAMS,              *
                           *
              Petitioner,  *
                           *
v.                         *
                           *                               Attorneys’ Fees and Costs;
SECRETARY OF HEALTH        *                               Special Processing Unit (“SPU”)
AND HUMAN SERVICES,        *
                           *
              Respondent.  *
                                                  *
****************************
John Judson Patterson, Luxon, Patterson & Himes, PLLC, Richmond, KY, for petitioner.
Adriana R. Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

       On January 27, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleged that she suffered “brachial neuritis including adhesive
capsulitis and left scapular dyskinesis” as a result of receiving a tetanus-diphtheria-
acellular pertussis (“Tdap”) vaccine on February 2, 2014. On September 23, 2016, the
undersigned issued a decision awarding compensation to petitioner based on the
respondent’s proffer. (ECF No. 26).




1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On April 22, 2017, petitioner filed an unopposed motion for attorneys’ fees and
costs. (ECF No. 31). 3 Petitioner requests attorneys’ fees and costs in the amount of
$14,000.00. Id. In accordance with General Order #9, petitioner’s counsel represents
that petitioner incurred no out-of-pocket expenses.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

     Accordingly, the undersigned awards a total of $14,000.00, 4 representing
reimbursement for all attorneys’ fees and costs, in the form of a check jointly
payable to petitioner and petitioner’s counsel, Jud Patterson.

        The clerk of the court shall enter judgment in accordance herewith. 5

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3 The motion was filed as an unopposed motion and therein states that “Respondent does not object to

the overall amount sought but notes that the lack of objection should not be construed as an admission,
concession, or waiver as to any of the matters raised by petitioner’s request for attorneys’ fees and costs,
including but not limited to the hourly rates requested, the number of hours requested, and other litigation-
related costs.” Motion at ¶ 4.

4 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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